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                  EXHIBIT 2
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                   AGlaEMENT ON ALTERNATIVE DISPUTE RESOLUTION
                                       ("ADR AGREEMENT")

                                 ~his is sa 11tr:f si&ni.tleut Documellt•
                                   *Read Carefully Before Signing*

      1. I understand and agree that certain disputes arising out of or related to my employment with
         Credit Acceptance Cmporation (CAC) or its subsidiaries or affiliates (collectively, the
          ''Company") ot the t.ermination of that employment ("Covered BUl.Ployment-Related
          Dispute") shall be resolved exolusively through the Company's Alternative Dispute
          ~lution ("ADll") :Policy and Procedure (the "ADR Policy and Procedurc1, a copy of
          wnich as provided with this ADR Agreement and tnade a part heteof, and which includes a
          final and binding arbitration procedure. I agree to abide by the terms of the ADR Policy and
          Procedme.

   · 2. Specifically, I agree to submit for final and binding resolution, including negotiatio~,
        media1ion. and binding arbitration_. pursuant to the ADR Policy and Pr.ocedure, such
        employment-related dispute involving any claimed adverse employment action, including
        possible termination, where I assert, in part or whole, wrongful action by the Company,
        which includes common law tort claims and /or claims under any current or future federal,
        state and/or local civil rights laws (laws against discrimination); and /or violation of certain
        described statutes/laws. Such emplo}'ment-related disputes subject to this Agreement are
        moro fully set forth in 1he attached ADll Policy and Procedure.

      3. I understand that nothing herein prevents me fiom filing a charge or complaint with the
         Michigan Department of Civil Rights (MDCR), the Federal Equal Employment Opportunity
         (EEOC) Commission or any other administrative agency.

      4. I underatand. that I am responsible £or reading the full text of the ADR Polley and Procedure
         which more fully defin~ the disputes covered by this ADR Agreement, d~scn'bes the
         procedure and rights governing tbe negotiation, mediation and arbitration processes, and sets
         forth the remedies that I may obtain.

      5. I aclmowledge that I have received and will read CA.C's Attemntive Dispute Resolution
         Policy and Procedure within :five (S) days of receipt of it I will become familiar with and
         abide by its terms. If I do not understand or agree with any provisions of the Alternative
         Oispute Resolution Policy and Procedure, l will discuss the provisions with my supervisor
         and/or personnel in the Company's Human Resources Department within five (5) days from
         the date of my stgnfog this Alternative Dispute Resolution Agreement.




      Appli.cant   Initials:~
~ay.
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         6. This Agreement or Alternative Dispute Resolution is made in exchange for Credit
              Acceptance Corporation's consideration. ofllly employment application.

         7. I further understand that if! am hired by CAC, I will be an employee-at-will and, as sueh, my
            employment may be tenninated by me or my employer at any time. for any or no reason with
            or without notice. Nothing in this A.gteement oo Alternative Djspute :Resolution alters my at~
            will status.

         8. This Agreement on Alternative Dispute Resolutions can only be modified or amended by a
            writing singed by the parties which speeifically states an intent to modify or amend this
            Agreement on Alternative Disput.e Resolution.

         9. I understand that by signing this .Agreement I am waiving any right that I may have to a jw-y
            trial and/or a court trial o-f su.eh included employment-related disputes. The right to trial and
            to a trial by jury is of value. I understand that I may want to consult an attorney prior to
            signing this Agreement, the Company has so advised me of this right; and has given me and
            opportunity to do so; and to the extent I so chose I have availed myself of that opportunity.
            However, l understand and agree that my application will not be considered nor will l be
            offered employment until this fonn is signed and returned by me.



     l llAVE :JU:AD ANn UN})ERSTAND EACH AND EVERY PROVISION OF THE
     FOREGOING AND VOLUNTARJLY AND KNOWINGLY AGREE TO THE TERMS AND
     CONDITlONS OF TfilS Al>RAGRE:E1\1ENT.


     APl'UCAN1''S SIGNATURE




                                                     Date:



     AGREED TO BY THE COMPANY




     Lll..9t Updated: OS/2B/2015




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